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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


 MUTUAL OF OMAHA
 MORTGAGE, INC.

                 Plaintiff,

 v.                                          CASE NO. 8:22-cv-01660-UAM

 WATERSTONE MORTGAGE
 CORPORATION,

                 Defendant.


WATERSTONE MORTGAGE CORPORATION’S RENEWED MOTION FOR
  PARTIAL SUMMARY JUDGMENT ON MUTUAL’S TRADE SECRET
  MISAPPROPRIATION CLAIMS (BORROWER DOCUMENT TRADE
                     SECRETS ONLY)

I.    INTRODUCTION

      Mutual stipulated that it is not seeking damages based on any diverted loans.

Yet, it pursues trade secret misappropriation claims based on documents associated

with 17 potential borrowers. The vast majority of these borrowers (15 of 17) never

even closed a loan at Waterstone. While two did, there is no connection between

those two borrowers and Mutual’s multi-million dollar lost profit damage

allegations, which are based on the departure of Mutual’s Daytona and Tampa

branches. The absence of damages is dispositive. The court should grant judgment

for Waterstone on Mutual’s trade secret misappropriation claims to the extent the

claims are premised on 17 borrower documents.
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II.   RELEVANT BACKGROUND

      a. Mutual’s 17 Borrower Document Trade Secrets.

      Mutual asserts claims for trade secret misappropriation under the Defend

Trade Secrets Act, 18 U.S.C. § 1836 (“DTSA”) and the Florida Uniform Trade

Secrets Act (“FUTSA”). (Am. Compl., Claims I-II, D.E. 37.) After being permitted

to amend its trade secrets over Waterstone’s objection, Mutual alleged three

categories of trade secrets: (1) documents related to 17 borrowers, (2) customer lists,

and (3) profit and loss statements for the Tampa and Daytona branches.1 (D.E. 207-

01.) This motion targets category (1), which is comprised of documents associated

with 17 borrowers as follows:

             a)    Eight (8) borrowers never completed a loan application at Mutual;
             b)    Three (3) borrowers had their loan applications denied by Mutual;
             c)    Two (2) borrowers withdrew loan applications with Mutual;
             d)    Two (2) borrowers were pre-approved for loan applications; and
             e)    Two (2) borrowers were approved by Mutual.

(See Mutual’s Resp. to Waterstone’s Fourth Set of Interrog., attached as Exhibit A, at

Resp. to Interrog. 28.)




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 In June 2024, the Court denied Waterstone’s motion for summary judgment on
Mutual’s trade secret claims without prejudice, afforded Waterstone the opportunity
to conduct additional discovery related to Mutual’s newly identified trade secrets,
and permitted Waterstone to file a fees petition incurred as a result of Mutual’s
failure to timely comply with discovery deadlines. (D.E. 209.) The additional
discovery related to Mutual’s new alleged trade secrets concluded on February 3,
2025, the date Waterstone deposed Mutual’s new rebuttal expert.

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      b. Mutual Has No Damages Based on the 17 Borrower Document Trade
         Secrets.

      Mutual stipulated months ago that it is not seeking any damages based on

diverted loans. (D.E. 196.) In addition, Mutual’s corporate representative admitted

Mutual cannot identify any dollar amount of damages associated with any of these

potential loans. (Deposition Transcript of Christine Leyden, attached as Exhibit B, at

76:18-22.)

      Mutual’s corporate representative also admitted Mutual has no evidence

Waterstone used the alleged borrower trade secrets to close loans at Waterstone.

(Leyden Dep. Tr., Exhibit B, at 92:18-23) or directed the transfer of borrower files.

(Id. at 28:14-17). Mutual could not even say whether any of the former employees

associated with the alleged borrower trade secrets engaged in misappropriation with

respect to the transfer of a borrower’s loan. (Id. at 132:21-134:17.)

      Mutual asserts lost profit damages based on its branches remaining with

Mutual for 30 months. But, there is no tie between the branches staying with Mutual

and these 17 potential borrowers. In fact, the branches close hundreds of loans each

year. (See Exhibit A at Mutual’s Resp. to Interrog. 29, 31.) In addition, only two of

the loans even closed with Waterstone and, as to those two, Mutual denied one of

the loans and the other borrower never even completed a loan application with

Mutual. (See Exhibit A at Mutual’s Resp. to Interrog. 28 referencing the Byers loan

(no application with Mutual) and the Castaneda loan (Mutual denied the loan)).




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       Mutual took no discovery as to the branch employees to understand the

reasons they resigned. The former managers each submitted detailed declarations

explaining the reasons they resigned from Mutual. (D.E. 104-8, 104-9, 104-10, and

104-11.) The reasons had nothing to do with the 17 potential borrower documents

later identified as Mutual’s alleged trade secrets. And, the managers specifically

confirm they would have left Mutual regardless of the ability to send information

associated with 17 potential borrowers to Waterstone. (See Exhibit C (Declaration of

Chris Smith); Exhibit D (Declaration of John Utsch); Exhibit E (Declaration of

Dwayne Hutto); Exhibit F (Declaration of Chris Wolf)).

III.   ARGUMENT

       A party that establishes trade secret misappropriation may recover the

following damages under the DTSA and FUTSA:

       • damages for actual loss caused by the misappropriation;
       • damages for unjust enrichment caused by the misappropriation; or
       • in lieu of damages measured by other methods, damages caused by the
         misappropriation measured by imposition of liability for a reasonable
         royalty for unauthorized disclosure or use of a trade secret.

See 18 U.S.C. § 1836(b)(3)(B); Fla. Stat. § 688.004(1).2 Mutual confirmed it is not

seeking damages based on unjust enrichment or a reasonable royalty. (D.E. 254.) As

to lost profit damages, importantly, a party can only recover “those losses that are

‘caused by’ misappropriation.” Fin. Info. Techs., LLC v. iControl Sys., USA, LLC, 21



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 Waterstone maintains that Mutual cannot establish the elements of trade secret
misappropriation, but the absence of damages derivative of the 17 potential borrower
documents alone requires judgment for Waterstone.

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F.4th 1267, 1277 (11th Cir. 2021) (citing Premier Lab Supply, Inc. v. Chemplex Indus.,

Inc., 94 So.3d 640, 644–46 (Fla. 4th DCA 2012) (per curiam)). See also In re Maxxim

Med. Grp., Inc., 434 B.R. 660, 690 (Bankr. M.D. Fla. 2010), aff'd sub nom. Maxxim

Med., Inc. v. Pro. Hosp. Supply, Inc., No. 8:10-CV-2577-T-17, 2021 WL 11701868

(M.D. Fla. Sept. 21, 2021) (a party “must prove that the alleged violation of the

UTSA caused it damages.”).

      Put differently, a party must “show that the asserted damages would not have

been suffered ‘but for’ the misappropriation.” Cap. City Home Loans, LLC v. Darnell,

No. 4:21-CV-228-AW-MJF, 2023 WL 4169614, at *1 (N.D. Fla. May 11, 2023),

aff'd, No. 23-12066, 2024 WL 4534567 (11th Cir. Oct. 21, 2024) (citation omitted).

Where a “plaintiff is unable to prove specific injury the accepted approach to

computing damages is to measure the value of the secret to the defendant.’” Hurry

Family Revocable Trust v. Frankel, Case No. 8:18-cv-2869-CEH-CPT, 2022 WL

3156202, at *11 (M.D. Fla. Aug. 8, 2022) (citation omitted).

      The failure to prove damages caused by the alleged misappropriation is

dispositive. Alphamed Pharms. Corp. v. Arriva Pharms., Inc., 432 F. Supp. 2d 1319, 1337

(S.D. Fla. 2006), aff'd, 294 F. App'x 501 (11th Cir. 2008) (explaining that “a claim for

damages under the FUTSA requires proof of damages” and collecting cases

dismissing UTSA claims for failure to prove damages). Furthermore, a party that

fails to present evidence of damages cannot recover exemplary damages. See, e.g.,

Brightview Group, LP v. Teeters, 2021 WL 1238501, No. SAG-19-2774 (D. Md. March



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29, 2021) (“Because Brightview has not presented evidence of actual damages or

unjust enrichment related to the misappropriation of trade secrets, no damages can

be awarded under either statute, and Brightview is not entitled to

corresponding exemplary damages.”)

      Here, there is no causal connection between the transmittal of these particular

potential borrower documents and the branch departures (i.e., Mutual’s lost profit

damages). Mutual has no evidence the former employees would have stayed at

Mutual but for the ability to transmit documents associated with these potential

borrowers. Seventeen potential borrowers is miniscule given the branches close

hundreds of loans each year.

      The former branch managers have made clear the reasons they left Mutual

had nothing to do with the ability to transmit information related to 17 potential

borrowers. Rather, they were frustrated with Mutual’s leadership, inadequate

products, and inability to timely close loans, among other things. Mutual has no

evidence the former branch managers would have stayed at Mutual but for the

transmittal of borrower information.

      Further, Mutual is not seeking damages based on the value of loans allegedly

diverted to Waterstone. And, Mutual’s corporate representative confirmed that

Mutual has not placed any other dollar value on any allegedly diverted loans. As

such, there is no basis to award any damages based on the alleged misappropriation

of borrower information, and the Court should grant judgment for Waterstone as to

these 17 alleged trade secrets.

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IV.   CONCLUSION

      For all the reasons discussed, the Court should grant Waterstone’s motion.

 Dated: February 10, 2025.
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                       LOCAL RULE 3.01(G) CERTIFICATION

      Pursuant to Local Rule 3.01(g), counsel for Waterstone certifies they have

conferred in good faith with opposing counsel concerning the issues presented in this

Motion. Specifically, Waterstone’s counsel spoke with Mutual’s counsel by phone on

February 4, 2025. Mutual’s counsel indicated it will not consent to the relief sought.

 Dated: February 10, 2025.
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